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                          UNIThI) SlATES UISTRI( F C OURT
                             L)IS1RICT CM’ NEW JERSEY


 tiNNED SfAFES OF M1CRlCA                      Criminal No 13 569 (SDW)

                                               ORDLR FOR £QNTTUMCL

  M RK NflRFA) [TI
     a/k ‘Mark Anclanuis’



      This matter having come before the Couit on the joint application of the

 Ut ited States by William r Fiwpatrick, Acting United States Attorney for the

 Distr ct ofca Jersey (Shana W. Chen 4ssistant IT.S Attorney, incT Charlie L.

 Dnine, Spec al 4*. ‘mu nt U.S Attc rney. appearing), and detendant Mark

 idreotti (John I McGovern, Esq , appearing) br i. a order granting a

 conU unuice of procec flags in thc above captioned mattet, arid the defendant

 being aare hat he his the tight to have this matter brought         to   trial wfthin 70

 days of tic Wtc o hit appearanc. e before a judwni officer of this court

 pumn ant to 18 U.S.C      )   31b1(e)I1); and the defendant having consented to

 auth comitrnaancc and hiving wamieci ciic h right; and for good cause shown.

       IT IS THE FII%DINU OF FillS COLRF that this attion should be

 continued   for   thc following reasons as stated on the record on July 24.2017:

     1.       The court appointed Joint P. McGovern. Esq..      on   May 10, 2017,

 after the deft ndant rcpresvmitcd to thc Court that he intendcd to retain new

 counsel In M13 9, 20 17

     2.       Mtem the Court appointed Mr. McGovern, the defendant provided a

 voluminous amount of material that hc had not provided        to pnor     counsel,
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 sq’qtant I dc nl a’ubhc )efendc’r Kern Carlucci.

                   ( July t ‘1, 2017. Mr McGovern requasted a contini. once.

 tuRn miii,,   U   t   C. iut t that he titeded mate tune to allow sufficient time to

 prepare fat trial

      &            The failuri to grim a continuance %ould deny Mr. McGovern              ‘is

 counsel for tl e defend ant the renconuble time necnsary o
                                                          t r effective
 prepar it   on tot t no       takn’, tnt account the’ cxci nse of due diligence


                       tics   ut of the. torepoing. pursuant to 15 U S.C.    % 316l(h)(7)(A)
 and (h)(7)(Bfliv), U c cudi. Jjuotkc           6   rvcd by the granting, of Out c.onunuanw

 outweigh the beit mtere.stt 01 the. pqlic and the. defendant in q speedy trial.

       l1lS.Jiercfore,onthib                          dayof    .j....,\J         ,2017.

       URDERF I) that this action be, and here by              is,   cbnt4ued until

 Sept tuber 11 2)17,andititlurther

       OWM’,RIsI) that the period from Jul
                                       3 dl, 201! through

 Septem x r 11 .1017 be and            it   herrb is excluded in computing time

 under the Sptcd Trial Act of 971, 18                if7jD. § 3161 et seq.

                                                    pome $usairD, Wigenton
                                                 4ifltcdfltatts Distritt Judge
                    __—




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Consented to as to form and entry:



Shana W. Chen, Esq.
Assistant U.S. Attorney



.)o!affP. MeOnverri, Esq.
Counsci for defendant




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